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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 7

Greg J. Buda,                                                           Case No. 8-18-75814-las

                                       Debtor.
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               ORDER AVOIDING JUDICIAL LIENS IN THIS CHAPTER 7 CASE

         Upon the motion dated September 27, 2018 (the “Motion”) of Greg J. Buda (the

“Debtor”), for entry of an order pursuant to 11 U.S.C. § 522(f), avoiding the judicial liens

listed below as liens of record against the Debtor’s real property located at 510 Fifth Avenue,

East Northport, NY 11731 (the “Property”), all as more fully set forth in the Motion; and the

Court having jurisdiction to consider the Motion and the relief requested therein in

accordance with 28 U.S.C. § 1334; and consideration of the Motion and the relief requested

therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and due and proper notice of

the Motion having been given; and it appearing that no other or further notice need be

provided; and no opposition having been interposed; and the Court having found and

determined that the judicial liens sought to be avoided impair an exemption to which the

Debtor would otherwise be entitled under 11 U.S.C. § 522(f); and after due deliberation and

there appearing to be sufficient cause to grant the relief requested; it is hereby

         ORDERED that pursuant to 11 U.S.C. § 522(f)(1)(A), the Motion is granted to the

extent provided herein; and it is further

         ORDERED that upon the entry of a discharge order, the following judicial liens shall

be vacated, expunged, and avoided as liens of record against the Property:

              1. American Express Centurion Bank vs. Greg Buda aka Gregory Buda, recorded

                   with the Clerk of Suffolk County, State of New York, on April 27, 2018, in the

                   amount of $49,022.36;


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            2. JPMorgan Chase Bank, NA vs. Wagner Bruno and Gregory Buda, recorded

               with the Clerk of Suffolk County, State of New York, on January 15, 2010, in

               the amount of $852,459.32; and

and it is further

         ORDERED that upon the entry of a discharge order, the Clerk of Suffolk County shall

be directed to index and record a certified copy of this Order as an instrument vacating,

expunging, and avoiding the aforementioned judicial liens as liens against the Debtor’s real

property located at 510 Fifth Avenue, East Northport, NY 11731; and it is further

         ORDERED that the Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

 




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    Dated: November 28, 2018                                      Louis A. Scarcella
           Central Islip, New York                         United States Bankruptcy Judge


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